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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION
                          _____________________________________


The STATE of TEXAS, et al.,

        Plaintiffs,

v.                                                   Civil Action No. 3:22-cv-00780-M

JOSEPH R. BIDEN JR., in his official capacity
as President of the United States, et al.,

        Defendants.




                             JOINT STATUS REPORT
                      REGARDING JURISDICTIONAL DISCOVERY

        Pursuant to the Court’s Order of August 22, 2022, ECF No. 50, the parties jointly provide

the Court with an update on the status of jurisdictional discovery.

        The parties have conferred and determined that Plaintiffs and Defendants are finalizing

their discovery requests. The parties anticipate engaging in further dialogue on these requests and

serving them upon each other over the course of the next few weeks.

        In light of this activity, the parties respectfully request that the Court continue the stay

governing this matter and continue to hold all pending deadlines in abeyance. The parties will file

a joint status report providing a further update on the progress of jurisdictional discovery on or by

October 15, 2022.




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Dated: September 14, 2022                  Respectfully submitted,


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                                     Certificate of Service

       On September 14, 2022, I electronically submitted the foregoing document with the Clerk

of Court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties electronically or by another

manner authorized by Federal Rule of Civil Procedure 5(b)(2).

                                                    /s/ Joseph A. Darrow
                                                    JOSEPH A. DARROW
                                                    U.S. Department of Justice




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